Case 1:22-mc-00006-JMS-MG Document 1-2 Filed 01/19/22 Page 1 of 55 PageID #: 18




                    Exhibit A-1
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page21of
                                                                  of55
                                                                     18PageID #: 19




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


  THE TRUSTEES OF
  PURDUE UNIVERSITY,

                  Plaintiff,

  v.                                                                  6:21-cv-00727
                                                    Civil Action No. __________

  STMICROELECTRONICS N.V., and                      JURY TRIAL DEMAND
  STMICROELECTRONICS, INC.,

                  Defendants.


  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND

          Plaintiff The Trustees of Purdue University (“Purdue”) files this Complaint for Patent

 Infringement    and    Jury    Demand    against   Defendants    STMicroelectronics    N.V.     and

 STMicroelectronics, Inc. (collectively “ST”), and alleges as follows:

                                         I.      PARTIES

          1.     Purdue is a statutory body corporate that operates and conducts a state educational

 institution having its principal place of business at 610 Purdue Mall, West Lafayette, Indiana

 47907.

          2.     Purdue is a public land-grant research university under the 1862 Morrill Act that

 was founded in 1869 and is consistently ranked among the top universities in the United States

 and the world. Purdue enrolls more than 40,000 students under the guidance of over 16,000 faculty

 and staff. On September 14, 2020, Purdue was named the fifth most innovative school in the United

 States by the U.S. News & World Report. Purdue’s professional and graduate programs include

 the well-ranked College of Engineering, Krannert School of Management, College of Education,

 and College of Pharmacy. Purdue’s esteemed School of Aeronautics and Astronautics within the


 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                 PAGE 1
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page32of
                                                                  of55
                                                                     18PageID #: 20




 College of Engineering has acquired the nickname “Cradle of Astronauts” for the twenty-six

 astronauts, including Neil Armstrong and Gus Grissom, it has produced.1 Other notable Purdue

 alumni are Nobel Prize winners Edward Mills Purcell, Ben Roy Mottelson, and Akira Suzuki.

 Purdue has also produced twenty-four National Academy of Engineering members.

         3.      Purdue is the State of Indiana’s primary driver for economic growth in science and

 technology. For example, Purdue spent over $435,185,000 on research during the 2019-2020 fiscal

 year, founded more than 80 technology startups, and raised more than $96,000,000 in venture

 capital funding. In 2019, Purdue ranked 13th globally for receiving U.S. utility patents according

 to the National Academy of Inventors and Intellectual Property Owners Association’s annual

 report. This distinction marks the sixth straight year that Purdue has ranked in the top 20.2

         4.      Purdue is an instrumentality of the State of Indiana, created and authorized by the

 Indiana General Assembly pursuant to Indiana Code § 21-23-2-1, et seq., and thus enjoys

 sovereign immunity. Kashani v. Purdue Univ., 813 F.2d 843, 845 (7th Cir. 1987); Wasserman v.

 Purdue Univ., 431 F. Supp. 2d 911, 916 (N.D. Ind. 2006) (“[T]he Board of Trustees [of Purdue]

 is a political arm of the state which is immune to suit.”); Harris v. Trustees of Purdue Univ., 2017

 WL 529598, at *2 (S.D. Ind. Feb. 8, 2017).

         5.      By filing this lawsuit or prosecuting this action, Purdue does not waive, either

 expressly or implicitly, its sovereign immunity or the sovereign immunity enjoyed by any arm of

 the State of Indiana under the laws of the United States or the State of Indiana, to any inter partes

 review, ex parte reexamination, or other post-grant proceeding at the United States Patent and




 1
   https://www.purdue.edu/newsroom/stories/2020/Stories%20at%20Purdue/purdue-named-5th-most-innovative-
 school-in-the-country.html; https://www.purdue.edu/space/astronauts.php (last accessed July 13, 2021).
 2
   https://www.purdue.edu/datadigest/; https://purduefoundry.com/startups;
 https://www.purdue.edu/newsroom/releases/2020/Q2/purdue-ranks-13th-worldwide-among-universities-granted-
 u.s.-utility-patents.html (last accessed July 13, 2021).



 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                       PAGE 2
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page43of
                                                                  of55
                                                                     18PageID #: 21




 Trademark Office or its Patent Trial and Appeal Board, to any other administrative actions or

 proceedings, to any noncompulsory counterclaims, or to any other federal or state proceedings

 whatsoever, whether initiated by ST or any other entity.

         6.      Defendant STMicroelectronics N.V. is a corporation organized under the laws of

 The Netherlands, with a place of business at WTC Schiphol Airport, Schiphol Boulevard 265,

 1118 BH Schiphol, The Netherlands.

         7.      Defendant     STMicroelectronics,      Inc.,   a   wholly     owned     subsidiary    of

 STMicroelectronics N.V., is a corporation organized under the laws of the State of Delaware, with

 a place of business at 750 Canyon Drive, Suite 300, Coppell, TX 75019. STMicroelectronics, Inc.

 may be served through its registered agent CT Corporation System, 1999 Bryan Street, Suite 900,

 Dallas, Texas 75201.

                                       II.     JURISDICTION

         8.      This is an action for patent infringement arising under the Patent Laws of the United

 States of America, Title 35 of the United States Code. This Court has subject matter jurisdiction

 pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         9.      This Court has personal jurisdiction over each Defendant under the laws of the State

 of Texas, due at least to its substantial business in Texas and in this District, directly or through

 intermediaries, including: (i) at least a portion of the infringements alleged herein, and (ii) regularly

 doing or soliciting business, engaging in other persistent courses of conduct and/or deriving

 substantial revenue from goods and services provided to individuals in the State of Texas.

         10.     Each Defendant, acting alone and/or in concert with and/or at the direction and

 subject to the control of the other Defendant, directly and/or through subsidiaries and agents

 (including distributors, retailers, and others), makes, imports, ships, distributes, offers for sale,

 sells, uses, and advertises (including offering products and services through its website,


 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                     PAGE 3
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page54of
                                                                  of55
                                                                     18PageID #: 22




 https://www.st.com, as well as other retailers) its products and/or services in the United States, the

 State of Texas, and this District.

         11.     Each Defendant, acting alone and/or in concert with and/or at the direction and

 subject to the control of the other Defendant, directly and/or through its subsidiaries and agents

 (including distributors, retailers, and others), has purposefully and voluntarily placed one or more

 of its infringing products, as described below, into the stream of commerce with the expectation

 that the products will be purchased and used by customers in this District. These infringing

 products have been and continue to be purchased and used by customers in this District. ST has

 committed acts of patent infringement within the State of Texas and, more particularly, within this

 District. This Court’s exercise of personal jurisdiction over ST is thus consistent with the Texas

 long-arm statute, Tex. Civ. Prac. & Rem. Code § 17.042, and traditional notions of fair play and

 substantial justice.

         12.     This Court has specific personal jurisdiction over STMicroelectronics N.V. because

 it is a foreign corporation and patent infringement is a claim that arises under federal law; therefore,

 service of summons or a waiver of service by STMicroelectronics N.V. will establish personal

 jurisdiction under Fed. R. Civ. P. 4(k)(2).

         13.     Furthermore, STMicroelectronics, Inc previously did not challenge, and thereby

 submitted to, this Court’s personal jurisdiction. See, e.g., Neodron Ltd. v. STMicroelectronics, Inc.

 et al, 6-20-cv-00560, ECF Nos. 13 (W.D. Tex.).

                                            III.    VENUE

         14.     Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendants have

 committed acts of infringement in this District by, among other things, importing, offering to sell,

 and selling products that infringe the asserted patents and have a regular and established place of

 business in this District, including at 8501 N. Mo-Pac Expressway, Suite 420, Austin, Texas


 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                    PAGE 4
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page65of
                                                                  of55
                                                                     18PageID #: 23




 78757. Moreover, Defendants have committed indirect acts of infringement in this District by

 inducing Avnet, Future Electronics, and Arrow to directly infringe the asserted patents by selling,

 offering for sale, or importing infringing products in this District.3 See In re Cray Inc., 871 F.3d

 1355 (Fed. Cir. 2017).

            15.      STMicroelectronics, Inc. is and has been registered to do business in the State of

 Texas (SOS File No. 0005910106) since August 4, 1983.

            16.      Venue is also proper against STMicroelectronics N.V. in this District under

 28 U.S.C. §1391(c)(3) because STMicroelectronics N.V. is a foreign corporation organized under

 the laws of The Netherlands and may be sued in any judicial district. Brunette Mach. Works, Ltd.

 v. Kochum Indus., Inc., 406 U.S. 706, 711–714 (1972), cited by TC Heartland LLC v. Kraft Foods

 Grp. Brands LLC, 137 S. Ct. 1514, 1520 n.2 (2017); see also In re HTC Corp., 889 F.3d 1349,

 1354 (Fed. Cir. 2018) (citing Brunette Mach. Works, 406 U.S. at 706).

            17.      Purdue does not waive its sovereign immunity as to any venue, including district

 courts and administrative tribunals, other than this Court, namely the United States District Court

 for the Western District of Texas, Waco Division.

                             IV.      UNITED STATES PATENT NO. 7,498,633

            18.      United States Patent No. 7,498,633 (“’633 Patent”), titled “High-Voltage Power

 Semiconductor Device,” was duly and legally issued by the United States Patent and Trademark

 Office on March 3, 2009. A true and correct copy of the ’633 Patent is attached as Exhibit A and

 is publicly available at https://pdfpiw.uspto.gov/.piw?PageNum=0&docid=7498633.




 3
     https://www.st.com/content/st_com/en/contact-us.html (last accessed July 13, 2021).



 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                  PAGE 5
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page76of
                                                                  of55
                                                                     18PageID #: 24




         19.    The ’633 Patent issued from U.S. Patent Application No. 11/338,007, which was

 filed on January 23, 2006, and claims priority to U.S. Provisional Application No. 60/646,152,

 which was filed on January 21, 2005.

         20.    The ’633 Patent relates generally to semiconductor devices, and more particularly

 to useful, novel, and non-obvious semiconductor devices for high-voltage power applications.

         21.    The inventors of the ’633 Patent are James A. Cooper, Ph.D. and Asmita Saha,

 Ph.D.

         22.    Dr. Cooper is a Jai N. Gupta Professor Emeritus of Electrical and Computer

 Engineering at Purdue and received his Ph.D. from Purdue in 1973. From 1973 to 1983, Dr. Cooper

 was a member of Technical Staff with Bell Laboratories, Murray Hill, NJ, where he was a Principal

 Designer of AT&T’s first CMOS microprocessor and developed a time-of-flight technique for

 investigating high-field transport in silicon inversion layers. He joined the Purdue faculty in 1983,

 where he was the Founding Director of the Purdue Optoelectronics Research Center. Since 1990,

 Dr. Cooper has explored device technology in the wide bandgap semiconductor SiC (silicon

 carbide). His group demonstrated the first monolithic integrated circuits in SiC (1993), the first

 planar DMOS power transistors (1996), the first lateral DMOSFETs (1997), the first self-aligned

 short-channel DMOSFETs (2003), and a variety of other devices.

         23.    Dr. Saha was Dr. Cooper’s student and, under his guidance, earned her doctorate

 from Purdue’s School of Electrical and Computer Engineering, Birck Nanotechnology Center. Her

 thesis focused on optimized design and simulation and fabrication of 4H-SiC short-channel

 DMOSFETs.

         24.    Purdue is the owner of all rights, title, and interest in and to the ’633 Patent with

 full right to enforce the ’633 Patent, including the right to recover for past infringement damages




 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                 PAGE 6
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page87of
                                                                  of55
                                                                     18PageID #: 25




 and the right to recover future royalties, damages, and income. On May 2, 2006, as recorded with

 the United States Patent and Trademark Office on May 18, 2006, Drs. Cooper and Saha assigned

 their rights and interests in the ’633 Patent to Purdue Research Foundation. Thereafter, Purdue

 Research Foundation assigned its rights and interest in the ’633 Patent to Purdue on June 18, 2021,

 as recorded with the United States Patent and Trademark Office on June 21, 2021.4

            25.     Every claim of the ’633 Patent is valid and enforceable and enjoys a statutory

 presumption of validity pursuant to 35 U.S.C. § 282.

            26.     All requirements under 35 U.S.C. § 287 have been satisfied with respect to the ’633

 Patent.

            27.     ST has never, either expressly or impliedly, been licensed under the ’633 Patent.

                            V.      UNITED STATES PATENT NO. 8,035,112

            28.     United States Patent No. 8,035,112 (“’112 Patent”), titled “SIC Power DMOSFET

 with Self-aligned Source Contact,” was duly and legally issued by the United States Patent and

 Trademark Office on October 11, 2011. A true and correct copy of the ’112 Patent is attached as

 Exhibit B and is available at https://pdfpiw.uspto.gov/.piw?PageNum=0&docid=8035112.

            29.     The ’112 Patent issued from U.S. Patent Application No. 12/429,176, which was

 filed on April 23, 2009, and claims priority to U.S. Provisional Application No. 61/047,274, which

 was filed on April 23, 2008.

            30.     The ’112 Patent relates generally to semiconductor field effect transistors, and more

 particularly to useful, novel, and non-obvious field effect transistors having self-aligned source

 contacts.




 4
     https://assignment.uspto.gov/patent/index.html#/patent/search/resultAbstract?id=7498633&type=patNum.



 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                              PAGE 7
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page98of
                                                                  of55
                                                                     18PageID #: 26




            31.     The inventors of the ’112 Patent are James A. Cooper, Ph.D. and Asmita Saha,

 Ph.D.

            32.     Purdue is the owner of all rights, title, and interest in and to the ’112 Patent with

 full right to enforce the ’112 Patent, including the right to recover for past infringement damages

 and the right to recover future royalties, damages, and income. On July 6, 2009, as recorded with

 the United States Patent and Trademark Office on August 7, 2009, Drs. Cooper and Saha assigned

 their rights and interests in the ’112 Patent to Purdue Research Foundation. Thereafter, Purdue

 Research Foundation assigned its rights and interest in the ’112 Patent to Purdue on June 18, 2021,

 as recorded with the United States Patent and Trademark Office on June 18, 2021.5

            33.     Every claim of the ’112 Patent is valid and enforceable and enjoys a statutory

 presumption of validity pursuant to 35 U.S.C. § 282.

            34.     All requirements under 35 U.S.C. § 287 have been satisfied with respect to the ’112

 Patent.

            35.     ST has never, either expressly or impliedly, been licensed under the ’112 Patent.

                            VI.     INFRINGEMENT OF THE ’633 PATENT

            36.     ST has been and continues to directly and/or indirectly (by inducement and/or

 contributory infringement) and willfully infringe one or more claims of the ’633 Patent in violation

 of 35 U.S.C. § 271, including, but not limited to claim 9.

            37.     ST has and continues to directly infringe the ’633 Patent, literally and/or under the

 doctrine of equivalents, by making, using, offering for sale, selling, and/or importing in or into the

 United States, without authority, products that fall within the scope of one or more claims of the

 ’633 Patent in violation of 35 U.S.C. § 271(a), including but not limited to the following SiC power



 5
     https://assignment.uspto.gov/patent/index.html#/patent/search/resultAbstract?id=8035112&type=patNum.



 PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                              PAGE 8
Case 1:22-mc-00006-JMS-MG
            Case 6:21-cv-00727
                             Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                            Page10
                                                                 9 of 55
                                                                      18 PageID #: 27




  MOSFETs            (metal-oxide       semiconductor    field-effect   transistors):    SCT1000N170AG,

  SCT20N170AG,               SCTWA35N65G2VAG,             SCTH100N65G2-7AG,             SCTH35N65G2V-7,

  SCTH35N65G2V-7AG,                  SCTH90N65G2V-7,         SCTW100N65G2AG,             SCTW35N65G2V,

  SCTW35N65G2VAG,                 SCTW90N65G2V,          SCTWA35N65G2V,         and     SCTWA90N65G2V

  (collectively, the “Accused Products”), as shown in Exhibit C.6

             38.      For example, each of the Accused Products (such as SCTW90N65G2V) is a

  double-implanted MOSFET.




             39.      Each of the Accused Products includes a silicon carbide substrate, a drift

  semiconductor layer formed on the front side of the substrate, a first source region, a first source

  electrode formed over the first source region defining a longitudinal axis, and a plurality of first




  6
      This chart is exemplary of all Accused Products.



  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                   PAGE 9
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page11
                                                                10of
                                                                   of55
                                                                      18PageID #: 28




  base contact regions defined in the first source region, each of which is spaced apart from the

  others in a direction parallel to the longitudinal axis defined by the first source electrode.

          40.      Each of the Accused Products also includes a second source region, a second source

  electrode formed over the second source region defining a longitudinal axis, and a plurality of

  second base contact regions defined in the second source region, each of which is spaced apart

  from the others in a direction parallel to the longitudinal axis defined by the second source

  electrode.

          41.      Each of the Accused Products also includes a JFET region, with a width less than

  about three micrometers, defined between the first source region and the second source region.

          42.      Purdue adopts and incorporates by reference as if fully stated herein, the attached

  exemplary claim chart (Exhibit C), which further describes and demonstrates how ST infringes at

  least claim 9 of the ’633 Patent. In addition, Purdue alleges that ST infringes one or more additional

  claims of the ’633 Patent in a similar manner.

          43.      ST has and continues to indirectly infringe the ’633 Patent by inducing others to

  infringe one or more claims of the ’633 Patent through making, using, selling, offering for sale,

  distributing, and/or importing the Accused Products. For example, ST induces its distributors like

  Arrow to directly infringe the ’633 Patent by selling, offering for sale, or importing in or into the

  United States the Accused Products, including the State of Texas and this District.7




  7
   https://www.st.com/en/power-transistors/sctw90n65g2v.html#sample-buy;
  https://www.arrow.com/en/support/contact-support/find-an-arrow-office?country=US_Offices;
  https://www.st.com/content/st_com/en/contact-us.html (listing even distributor locations);
  https://www.arrow.com/en/products/sctw90n65g2v/stmicroelectronics; (last accessed July 13, 2021).



  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                       PAGE 10
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page12
                                                                11of
                                                                   of55
                                                                      18PageID #: 29




         44.     ST was and has been aware of the ’633 Patent and its coverage of SiC power

  MOSFETs, including at least the Accused Products, since at least April 2021, when Purdue sent

  ST a notice letter, and no later than service of this Complaint, and was aware that its actions as to

  importers, distributors, resellers, wholesalers, retailers, and/or end-users of the Accused Products

  would induce infringement. For example, ST knowingly and intentionally instructs its customers,

  distributors, end-users, and/or other third parties to infringe at least through user manuals, product

  documentation, services, and other materials, such as those located on ST’s website at

  https://www.st.com/content/st_com/en/products/sic-devices/sic-mosfets.html and other websites

  such as at https://www.youtube.com/watch?v=hV5mqmuozlA. By providing instruction and

  training to customers and end-users on how to use the Accused Products, in order to promote the

  sales of these products, in a manner that directly infringes one or more claims of the ’633 Patent,

  including at least claim 9, ST specifically intended to induce infringement of the ’633 Patent.




  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                 PAGE 11
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page13
                                                                12of
                                                                   of55
                                                                      18PageID #: 30




         45.     Despite such awareness of the ’633 Patent and its coverage of SiC power

  MOSFETs, including at least the Accused Products, ST continues to take active steps (e.g.,

  creating and disseminating the Accused Products and other SiC power MOSFETs with similar

  infringing technology, as well as product manuals, instructions, promotional and marketing

  materials, and/or technical materials to distributors, resellers, wholesalers, retailers, and end-users)

  by encouraging others to infringe the ’633 Patent with the specific intent to induce such

  infringement. Accordingly, ST has known and intended that its products infringe the ’633 Patent

  and that ST’s continued actions would actively induce the infringement of the ’633 Patent claims.

         46.     ST has continued making, using, offering for sale, selling, and importing the

  Accused Products despite an objectively high likelihood that its actions infringe at least one claim

  of the ’633 Patent—a valid and enforceable patent, and such objective risk of infringement was

  known to ST or so obvious that ST should have known it. Therefore, Purdue is entitled to receive

  enhanced damages up to three times the amount of actual damages for ST’s willful infringement

  pursuant to 35 U.S.C. § 284.

         47.     ST’s direct, indirect, and willful infringement of the ’633 Patent has caused, and

  will continue to cause, substantial and irreparable damage to Purdue. Purdue is, therefore, entitled

  to an award of damages adequate to compensate for ST’s infringement of the ’633 Patent, but in

  no event less than a reasonable royalty for ST’s use and/or sale of Purdue’s invention, together

  with pre- and post-judgment interest, attorneys’ fees, and costs as fixed by the Court under 35

  U.S.C. §§ 284 and 285.

                         VII.    INFRINGEMENT OF THE ’112 PATENT

         48.     ST has been and continues to directly and/or indirectly (by inducement and/or

  contributory infringement) and willfully infringe one or more claims of the ’112 Patent in violation

  of 35 U.S.C. § 271, including, but not limited to claim 6.


  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                   PAGE 12
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page14
                                                                13of
                                                                   of55
                                                                      18PageID #: 31




             49.      ST has and continues to directly infringe the ’112 Patent, literally and/or under the

  doctrine of equivalents, by making, using, offering for sale, selling, and/or importing in or into the

  United States, without authority, the Accused Products, which fall within the scope of one or more

  claims of the ’112 Patent in violation of 35 U.S.C. § 271(a), as shown in Exhibit D.8

             50.      For example, each of the Accused Products (such as SCTW90N65G2V) is a

  MOSFET.




             51.      Each of the Accused Products includes a silicon carbide wafer having a substrate

  body with an upper surface, at least one source region formed adjacent to the upper surface, a

  substrate surface oxidation layer on the upper surface of the substrate body and adjacent source

  region, and at least two polysilicon gates above the substrate surface oxidation layer (each with a




  8
      This chart is exemplary of all Accused Products.



  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                    PAGE 13
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page15
                                                                14of
                                                                   of55
                                                                      18PageID #: 32




  top, a bottom and sides), wherein a first source region of the at least one source region is juxtaposed

  between first and second adjacent gates of the at least two polysilicon gates.

          52.      Each of the Accused Products also includes a gate oxide layer (thicker than the

  substrate surface oxidation layer) over the tops and sides of each of the polysilicon gates and a

  material layer, including one of an oxide and a metal contact, over the first source region and

  between the gate oxide layers on the sides of the polysilicon gates.

          53.      Purdue adopts and incorporates by reference as if fully stated herein, the attached

  exemplary claim chart (Exhibit D), which further describes and demonstrates how ST infringes at

  least claim 6 of the ’112 Patent. In addition, Purdue alleges that ST infringes one or more additional

  claims of the ’112 Patent in a similar manner.

          54.      ST has and continues to indirectly infringe the ’112 Patent by inducing others to

  infringe one or more claims of the ’112 Patent through making, using, selling, offering for sale,

  distributing, and/or importing the Accused Products. For example, ST induces its distributors like

  Arrow to directly infringe the ’112 Patent by selling, offering for sale, or importing in or into the

  United States the Accused Products, including the State of Texas and this District.9




  9
   https://www.st.com/en/power-transistors/sctw90n65g2v.html#sample-buy;
  https://www.arrow.com/en/support/contact-support/find-an-arrow-office?country=US_Offices;
  https://www.st.com/content/st_com/en/contact-us.html (listing even distributor locations);
  https://www.arrow.com/en/products/sctw90n65g2v/stmicroelectronics; (last accessed July 13, 2021).



  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                       PAGE 14
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page16
                                                                15of
                                                                   of55
                                                                      18PageID #: 33




         55.     ST was and has been aware of the ’112 Patent and its coverage of SiC power

  MOSFETs, including at least the Accused Products, since at least April 2021, when Purdue sent

  ST a notice letter, and no later than service of this Complaint, and was aware that its actions as to

  importers, distributors, resellers, wholesalers, retailers, and/or end-users of the Accused Products

  would induce infringement. For example, ST knowingly and intentionally instructs its customers,

  distributors, end-users, and/or other third parties to infringe at least through user manuals, product

  documentation, services, and other materials, such as those located on ST’s website at

  https://www.st.com/content/st_com/en/products/sic-devices/sic-mosfets.html and other websites

  such as at https://www.youtube.com/watch?v=hV5mqmuozlA. By providing instruction and

  training to customers and end-users on how to use the Accused Products, in order to promote the

  sales of these products, in a manner that directly infringes one or more claims of the ’112 Patent,

  including at least claim 6, ST specifically intended to induce infringement of the ’112 Patent.




  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                 PAGE 15
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page17
                                                                16of
                                                                   of55
                                                                      18PageID #: 34




          56.     Despite such awareness of the ’112 Patent and its coverage of SiC power

  MOSFETs, including at least the Accused Products, ST continues to take active steps (e.g.,

  creating and disseminating the Accused Products and other SiC power MOSFETs with similar

  infringing technology, as well as product manuals, instructions, promotional and marketing

  materials, and/or technical materials to distributors, resellers, wholesalers, retailers, and end-users)

  by encouraging others to infringe the ’112 Patent with the specific intent to induce such

  infringement. Accordingly, ST has known and intended that its products infringe the ’112 Patent

  and that ST’s continued actions would actively induce the infringement of the ’112 Patent claims.

          57.     ST has continued making, using, offering for sale, selling, and importing the

  Accused Products despite an objectively high likelihood that its actions infringe at least one claim

  of the ’112 Patent—a valid and enforceable patent, and such objective risk of infringement was

  known to ST or so obvious that ST should have known it. Therefore, Purdue is entitled to receive

  enhanced damages up to three times the amount of actual damages for ST’s willful infringement

  pursuant to 35 U.S.C. § 284.

          58.     ST’s direct, indirect, and willful infringement of the ’112 Patent has caused, and

  will continue to cause, substantial and irreparable damage to Purdue. Purdue is, therefore, entitled

  to an award of damages adequate to compensate for ST’s infringement of the ’112 Patent, but in

  no event less than a reasonable royalty for ST’s use and/or sale of Purdue’s invention, together

  with pre- and post-judgment interest, attorneys’ fees, and costs as fixed by the Court under 35

  U.S.C. §§ 284 and 285.

                                        VIII. JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by

  jury on all issues triable as such.




  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                                   PAGE 16
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page18
                                                                17of
                                                                   of55
                                                                      18PageID #: 35




                                            IX.     PRAYER

          WHEREFORE, Plaintiff requests the following relief:

      A. A judgment that the ’633 Patent and the ’112 Patent are valid and enforceable;

      B. A judgment that Defendants have infringed and continue to infringe the ’633 Patent and

  the ’112 Patent as alleged herein;

      C. A judgment and order requiring Defendants to pay Plaintiff damages under 35 U.S.C.

  § 284, and supplemental damages for any continuing post-verdict infringement through entry of

  the final judgment with an accounting as needed;

      D. A judgment that this is an exceptional case within the meaning of 35 U.S.C. § 285 and

  Plaintiff is therefore entitled to reasonable attorneys’ fees;

      E. A judgment and order requiring Defendants to pay Plaintiff pre-judgment and post-

  judgment interest on the damages awarded;

      F. A judgment and order awarding Plaintiff costs associated with bringing this action; and

      G. Such other and further relief as the Court deems just and proper.



   Dated: July 14, 2021                            Respectfully submitted,

                                                   /s/ Mark D. Siegmund
                                                   Mark D. Siegmund (Texas Bar No. 24117055)
                                                   msiegmund@shorechan.com
                                                   Of Counsel
                                                   SHORE CHAN LLP
                                                   1508 North Valley Mills Drive
                                                   Waco, Texas 76710
                                                   Telephone: 254-772-6400

                                                   Alfonso G. Chan (Texas Bar No. 24012408)
                                                   achan@shorechan.com
                                                   Michael W. Shore (Texas Bar No. 18294915)
                                                   mshore@shorechan.com
                                                   Halima Shukri Ndai (Texas Bar No. 24105486)
                                                   hndai@shorechan.com



  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND                            PAGE 17
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21 Filed
                                            Filed01/19/22
                                                  07/14/21 Page
                                                           Page19
                                                                18of
                                                                   of55
                                                                      18PageID #: 36




                                               SHORE CHAN LLP
                                               901 Main Street, Suite 3300
                                               Dallas, Texas 75202
                                               Telephone: 214-593-9110
                                               Fax: 214-593-9111

                                               COUNSEL FOR PLAINTIFF
                                               THE TRUSTEES OF PURDUE UNIVERSITY




  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND              PAGE 18
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  201ofof55
                                                                          11PageID #: 37




                      EXHIBIT A
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  212ofof55
                                                                          11PageID #: 38
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  223ofof55
                                                                          11PageID #: 39
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  234ofof55
                                                                          11PageID #: 40
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  245ofof55
                                                                          11PageID #: 41
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  256ofof55
                                                                          11PageID #: 42
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  267ofof55
                                                                          11PageID #: 43
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  278ofof55
                                                                          11PageID #: 44
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-1Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  289ofof55
                                                                          11PageID #: 45
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-1 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page2910ofof5511PageID #: 46
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-1 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page3011ofof5511PageID #: 47
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  311ofof55
                                                                          25PageID #: 48




                      EXHIBIT B
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  322ofof55
                                                                          25PageID #: 49
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  333ofof55
                                                                          25PageID #: 50
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  344ofof55
                                                                          25PageID #: 51
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  355ofof55
                                                                          25PageID #: 52
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  366ofof55
                                                                          25PageID #: 53
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  377ofof55
                                                                          25PageID #: 54
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  388ofof55
                                                                          25PageID #: 55
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727Document
                               Document
                                      1-21-2Filed
                                               Filed
                                                   01/19/22
                                                     07/14/21Page
                                                               Page
                                                                  399ofof55
                                                                          25PageID #: 56
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4010ofof5525PageID #: 57
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4111ofof5525PageID #: 58
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4212ofof5525PageID #: 59
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4313ofof5525PageID #: 60
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4414ofof5525PageID #: 61
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4515ofof5525PageID #: 62
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4616ofof5525PageID #: 63
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4717ofof5525PageID #: 64
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4818ofof5525PageID #: 65
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page4919ofof5525PageID #: 66
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page5020ofof5525PageID #: 67
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page5121ofof5525PageID #: 68
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page5222ofof5525PageID #: 69
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page5323ofof5525PageID #: 70
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page5424ofof5525PageID #: 71
Case 1:22-mc-00006-JMS-MG
           Case 6:21-cv-00727 Document
                               Document1-2
                                         1-2 Filed
                                               Filed01/19/22
                                                     07/14/21 Page
                                                               Page5525ofof5525PageID #: 72
